          Case 3:19-cv-00082-MO          Document 1-1       Filed 01/16/19     Page 1 of 3




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                             UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON




  TIMOTHY C. ROTE,                                    Case No. 3:19-cv-00082
                          Plaintiff,                  CERTIFICATION PURSUANT TO 28
                                                      U.S.C. § 2679(d)
  v.
  LINDA L. MARSHALL, JOEL
  CHRISTIANSEN, ANDREW
  BRANDSNESS, CAROL BERNICK,
  OREGON STATE BAR
  (PROFESSIONAL LIABILITY FUND),
  MATT KALMANSON, JANE DOE, PAM
  STENDAHL, JOHN DOES (4-5),
                          Defendants.




I, RENATA A. GOWIE, hereby certify as follows:

   1. I am the Chief of the Civil Division of the United States Attorney's Office for the District of

         Oregon. On March 22, 2016, Billy J. Williams, the United States Attorney for the District of

         Oregon, re-delegated to the Chief of the Civil Division the authority to certify whether a

         federal employee was acting in the scope of his or her employment at the time of the alleged




Page 1          Certification Pursuant to 28 U.S.C. § 2679(d)
         Case 3:19-cv-00082-MO           Document 1-1        Filed 01/16/19       Page 2 of 3




        tortious conduct in any civil case in this District pursuant to 28 U.S.C. § 2679(d) and 28 C.F.R.

        § 15.4.

   2. The U.S. Attorney's Office has received notice that Defendant Jane Doe - actual identity

        Nancy Walker -is being sued in Clackamas County Circuit Court for conduct that took place

        while acting within the course and scope of her employment as Official Court Reporter.

   3. On the basis of the information available to me at this time, and pursuant to 28 U.S.C.

        § 2679(d)(2) and 28 C.F.R. § 15.4, I hereby certify that Jane Doe / Nancy Walker was acting

        within the scope of her employment at the time of the conduct out of which Timothy Rote's

        claims arose. As a result, in accordance with 28 U.S.C. § 2679(d)(l), Rote's FTCA claims

        should be deemed claims brought against the United States, and the United States should be

        substituted as the party defendant with respect to the FTCA claims.




Executed this 16th day of January 2019 at Portland, Oreg? ?
                                                          ~                      L        ;..g.,
                                                        RENATA A. GOWIE
                                                        Chief, Civil Division
                                                        United States Attorney's Office
                                                        District of Oregon




Page2             Certification Pursuant to 28 U.S.C. § 2679(d)
         Case 3:19-cv-00082-MO         Document 1-1       Filed 01/16/19       Page 3 of 3




                                  CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing Certification Pursuant to 28 U.S.C. § 2679(d)

was placed in a postage prepaid envelope and deposited in the United States Mail according to

established office procedure within the office of the United States Attorney at Portland, Oregon, on

January 16, 2019, addressed to:


        Timothy C. Rote                                   Andrew Brandsness
        24790 SW Big Fir Rd.                              411 Pine Street
        West Linn OR 97068                                Klamath Falls, OR 97601
        (503) 702-7225                                           Defendant
        tim@rote-enterprises.com
                Plaintiff Pro Se



                                                     /s/ Jared D. Hager
                                                     JARED D. HAGER
                                                     Assistant U.S. Attorney




CERTIFICATE OF SERVICE
